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IN THE UNITED STATES DISTRICT COURT | ApR 1 5 9n|5
FOR THE NORTHERN DISTRICT OF TEXAS | vet
FORT WORTH DIVISION | I
an A, & i CF COURT
LISA A BIRON, | ‘
(BOP No.12775-049)
V. CIVIL ACTION NO. 4:15-CV-205-A

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JODY UPTON, et al.

ORDER RE: COLLECTION AND PAYMENT OF FULL FILING FEE
(With Special Instructions to the Clerk of Court)

The Court, having considered plaintiff's Application for Leave to Proceed In Forma Pauperis
in light of the Prison Litigation Reform Act of 1995 (PLRA), finds the following:

[X ] Plaintiff has had the initial partial filing fee paid as ordered by the Court.

It is therefore ORDERED that:

[ X ] Plaintiff shall pay $ 320.09, the balance of the filing fee, in monthly installments as
provided in 28 U.S.C. § 1915(b)(2).

The agency having custody of plaintiff shall deduct 20% of each deposit made to plaintiff's
inmate trust account and forward payments to the Court on a regular basis provided the account
exceeds $ 10.00.

Plaintiff shall immediately execute all consents and other documents required by the agency
having custody of plaintiff to authorize the necessary withdrawals from plaintiff's inmate trust
account.

The Clerk of Court shall mail a copy of this Order to the inmate accounting office or other
person(s) or entity with responsibility for assessing, collecting, and remitting to the Court the interim
filing fee payments on behalf of inmates, as designated by the facility in which plaintiff is confined.

After docketing of this order, this action should be returned to the United States District

Judge for further review and for such other action as may be deemed appropriate.

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SIGNED April _/9, 2015. a NS]

JEFFREY £7@URETON
UNITED'S TES MAGISTRATE JUDGE
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